                                                         FILED: October 27, 2020


                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT

                             ___________________

                                  No. 15-4578
                             (1:15-cr-00003-GBL-1)
                             ___________________

UNITED STATES OF AMERICA

             Plaintiff - Appellee

v.

LAMONT ANDRE THOMAS

             Defendant - Appellant

                             ___________________

                                MANDATE
                             ___________________

      The judgment of this court, entered October 05, 2020, takes effect today.

      This constitutes the formal mandate of this court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.


                                                       /s/Patricia S. Connor, Clerk
